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                        8                                UNITED STATES DISTRICT COURT
                        9                              NORTHERN DISTRICT OF CALIFORNIA
                       10

                       11   IN RE: ACCELLION, INC. DATA BREACH            Case No. 5:21-CV-01155-EJD (SVK)
                            LITIGATION
                       12                                                 NON-PARTY THE REGENTS OF THE
                                                                          UNIVERSITY OF CALIFORNIA’S
                       13                                                 STATEMENT REGARDING
                                                                          DEFENDANT ACCELLION, INC.’S
                       14                                                 DISCOVERY DISPUTE
                       15                                                 Hearing Date: April 29, 2025
                                                                          Hearing Time: 10:00 a.m.
                       16                                                 Judge: Hon. Edward J. Davila
                                                                          Magistrate Judge: Susan van Keulen
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ORRICK, HERRINGTON &
    SUTCLIFFE LLP           NON-PARTY THE REGENTS’                                    CASE NO. 5:21-CV-01155-EJD
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                        1   April 21, 2025

                        2   Submitted via ECF

                        3   Magistrate Judge Susan van Keulen
                            San Jose Courthouse
                        4   Courtroom 6 – 4th Floor
                            280 South 1st Street
                        5   San Jose, CA 95113

                        6             Re:        Non-Party The Regents of the University of California’s Statement
                                                 Regarding Defendant Accellion, Inc.’s Discovery Dispute
                        7                        In re Accellion, Inc. Data Breach Litigation, Case No. 5:21-cv-01155-EJD
                                                 (N.D. Cal.)
                        8

                        9   Dear Judge van Keulen:
                       10          Pursuant to Your Honor’s April 14, 2025 Order, Non-Party The Regents of the University

                       11   of California (“The Regents”) submits this statement in response to the Joint Discovery Statement

                       12   filed on March 20, 2025 concerning Defendant Accellion, Inc.’s (“Accellion”) motion to compel

                       13   from Plaintiffs the production of documents that were previously produced by any party or third

                       14   party in Erazo, et al. v. The Regents of the University of California, No. RG21097796 (Cal. Super.

                       15   Ct.) (“Erazo”). The Regents will meet and confer with Accellion before the hearing regarding its

                       16   position discussed below in hopes of reaching a mutually agreeable resolution.

                       17          Accompanying this statement is the following exhibit:

                       18          1. Protective Order in Erazo.

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                        1          Non-Party The Regents respectfully requests that the Court deny Accellion’s motion to

                        2   compel Plaintiffs to re-produce all documents produced in the Erazo litigation. Accellion’s motion

                        3   should be denied for three reasons. First, Accellion’s request for The Regents’ entire document

                        4   production in the Erazo litigation via Plaintiffs in an effort to shift the blame on a non-party is a de

                        5   facto end run around The Regents’ sovereign immunity protections as a state instrumentality.

                        6   Second, the Erazo Protective Order bars the use of confidential information outside that state

                        7   litigation. Third, Accellion fails to demonstrate any relevance or probative value of the information

                        8   it seeks—which goes far beyond even the overbroad subpoenas Accellion has served on The

                        9   Regents—nor how its request is reasonably calculated to lead to admissible evidence.
                       10   I.     BACKGROUND

                       11          The Regents engaged in extensive discovery in Erazo, responding to 48 requests for

                       12   production, 11 requests for admission, and 25 interrogatories from the plaintiffs. The parties worked

                       13   to define the appropriate scope of discovery probative of the claims and defenses at issue through

                       14   meet-and-confers. To that end, The Regents produced approximately 10,202 documents—or

                       15   57,031 pages—nearly all of which were designed “Confidential” pursuant to the Erazo Protective

                       16   Order. The categories of documents produced included documents and communications regarding

                       17   Accellion’s file transfer appliance (“Accellion FTA”); The Regents’ investigation of the data

                       18   breach; and other internal documents regarding The Regents’ cybersecurity.

                       19         In February 2024, the Erazo plaintiffs and Accellion stipulated to dismiss Accellion from
                       20   the Erazo litigation and to continue their dispute in this Court. In January 2025, Accellion served

                       21   The Regents with subpoenas for documents and testimony (“Subpoenas”). Among other things,

                       22   Accellion sought internal communications relating to UC’s information security policies and the

                       23   Accellion FTA, and information about UC’s response to the data breach and unrelated third-party

                       24   data breaches. Accellion claimed the Subpoenas sought information relevant to Accellion’s

                       25   purported “sophisticated user and/or knowledgeable intermediary” defenses in the present case.

                       26   However, these defenses only apply to claims that involve a duty to warn, which was not alleged

                       27   in this action (see § 2, infra), and Accellion already possessed documents concerning the breach,

                       28   including all emails with The Regents, the timeline of events regarding the breach of the Accellion
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                        1   FTA, and information regarding The Regents’ information security policies. Following several

                        2   meet-and-confers, in an effort to resolve the dispute and forego burdensome discovery, The Regents

                        3   agreed to produce information regarding its security policies and protocols at the time of the breach

                        4   of the Accellion FTA and the deposition transcript and exhibits of The Regents’ Person Most

                        5   Knowledgeable in Erazo.

                        6   II.    ARGUMENTS

                        7          A.      Accellion’s Motion Circumvents The Regents’ Sovereign Immunity.

                        8          As a threshold matter, The Regents is an instrumentality of the State of California and, as

                        9   such, enjoys sovereign immunity and cannot be compelled to litigate in federal court. See BV
                       10   Engineering v. Univ. of Cal., 858 F.2d 1394, 1395 (9th Cir. 1988) (holding that University of

                       11   California and The Regents enjoy Eleventh Amendment immunity as instrumentalities of state);

                       12   Feied v. The Regents of the Univ. of Cal., 188 F. App’x 559, 561 (9th Cir. 2006) (collecting cases).

                       13   Accordingly, The Regents cannot be compelled to litigate in this Court. See Brandmeyer v. Regents

                       14   of Univ. of Cal., 2020 WL 6816788, at *1 (N.D. Cal. Nov. 10, 2020) (protecting The Regents’

                       15   sovereign immunity and dismissing the case). However, Accellion’s overbroad discovery request to

                       16   Plaintiffs for all documents The Regents produced in the Erazo litigation—to pass blame onto The

                       17   Regents in this litigation for the compromise of Accellion’s software—is tantamount to an end run

                       18   around sovereign immunity. Crucially, when The Regents engaged in discovery in Erazo, it did so

                       19   in a venue and forum (California state court) of its choosing, tailored to the claims and defenses
                       20   raised in that state litigation, and in light of the protections afforded it under sovereign immunity.

                       21   See Kohn v. State Bar of Cal., 87 F.4th 1021, 1027 (9th Cir. 2023), cert. denied, 144 S. Ct. 1465

                       22   (2024) (Eleventh Amendment “serves to avoid the indignity of subjecting a [s]tate to the coercive

                       23   process of judicial tribunals at the instance of private parties”). Compelling the production of the

                       24   entire Erazo discovery record in federal court—for Accellion’s admitted purpose of shifting

                       25   responsibility for Accellion’s data breach to The Regents—undermines the protections sovereign

                       26   immunity affords governmental entities. Id.; Hill v. Blind Indus. & Servs. of Maryland, 179 F.3d

                       27   754, 760 (9th Cir.), opinion amended on denial of reh’g, 201 F.3d 1186 (9th Cir. 1999) (The Eleventh

                       28   Amendment operates as “a personal privilege” of the state.).
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                        1           B.      Requiring Production of The Regents’ Confidential Documents Would
                                            Undermine the Erazo Protective Order.
                        2

                        3           The Erazo Protective Order prohibits disclosure of confidential discovery to outsiders of the

                        4   state litigation, including now-former party Accellion.1 See Ex. 1 at 9-12. Accellion argues it is

                        5   entitled to the entire production because the protective order in this case provides similar

                        6   confidentiality protections. However, as courts have consistently recognized, “[e]very time a

                        7   business is required to permit its confidential information to be shared, there is a risk, and thus a

                        8   burden, that it will not be maintained as confidential notwithstanding protective orders.” Pacific

                        9   Wine Distributors, Inc. v. Vitol Inc., 2022 WL 1489474, at *2 (N.D. Cal. May 11, 2022).

                       10   Accordingly, courts construe protective orders narrowly in “a reasonable and common sense manner

                       11   so that its prohibitions are connected to its purpose.” See On Command Video Corp. v. LodgeNet

                       12   Ent. Corp., 976 F. Supp. 917, 921 (N.D. Cal. 1997) (permitting plaintiff to use information produced

                       13   under protective order to file a separate action would render the protective order meaningless). This

                       14   principal applies equally here. The documents produced subject to the Erazo Protective Order were

                       15   not meant for use outside that litigation, and allowing reproduction en masse in this action would

                       16   vitiate the protections granted to an arm of the State by the Erazo Protective Order.

                       17           C.      Accellion Fails to Show How The Regents’ Production Is Relevant to This Case
                                            or Reasonably Calculated to Lead to Admissible Evidence.
                       18

                       19           Discovery is limited to “nonprivileged matter that is relevant to any party’s claims or

                       20   defense”—i.e., reasonably calculated to lead to the discovery of admissible evidence. F.R.C.P.

                       21   26(b)(1); Shoen v. Shoen, 5 F.3d 1289, 1292 (9th Cir. 1993). As the party seeking discovery,

                       22   Accellion must “demonstrate that the information sought is relevant and material to the allegations

                       23   and claims at issue in the proceedings.” Carroll v. Wells Fargo & Co., 2017 WL 1316548, at *2

                       24   (N.D. Cal. Apr. 10, 2017); see also Fed. R. Evid. 401, 402 (relevance turns on evidence having “any

                       25   tendency to make a fact more or less probable than it would be without the evidence” and whether

                       26   that fact “is of consequence in determining the action”); Pacific Wine Distributors, 2022 WL

                       27   1
                              As a former party, Accellion participated in the Erazo discovery process for two-and-a-half years before
                            voluntarily exiting to continue this federal litigation. Accellion engaged in discovery in Erazo, including
                       28   responding to plaintiffs’ requests for production, before stipulating with plaintiffs for voluntary dismissal.
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                        1   1489474, at *1 (denying motion to compel non-party’s “entire discovery production” in another

                        2   lawsuit absent defendant’s showing of why “every single document . . . is relevant to this litigation”).

                        3   Courts regularly deny discovery requests that seek a non-party’s documents without sufficient

                        4   topical and time limitations.2 See O'Connor v. Boeing North American, Inc., 185 F.R.D. 272 (C.D.

                        5   Cal. 1999) (denying motion to compel); Newman v. San Joaquin Delta Community College Dist.,

                        6   2011 WL 1743686, at *4 (E.D. Cal. May 6, 2011) (granting motion for protective order). Applied

                        7   here, Accellion cannot seek a “blanket order directing production of everything” produced in Erazo

                        8   but instead must make “targeted requests that fill the gaps” in what discovery is already has. Pacific

                        9   Wine Distributors, Inc., 2022 WL 1489474, at *1.
                       10           As explained above (see § 1, supra), The Regents already produced documents in response

                       11   to Accellion’s Subpoenas. Accellion has not alleged that the materials The Regents produced were

                       12   insufficient. Instead, Accellion argues that the Subpoenas are somehow entirely separate from the

                       13   instant request because they sought “different information that Plaintiff may not have wanted to

                       14   obtain in prosecuting their Erazo case.” ECF 340 at 3. To be sure, there is some overlap between the

                       15   material Accellion seeks in the Subpoenas and the material produced in Erazo discovery. But that’s

                       16   beside the point. Rather, the salient issue is Accellion’s failure to establish the relevance of the

                       17   information it seeks—regardless of the approach it takes.

                       18           Accellion’s relevance argument presented in meet-and-confers regarding The Regents’

                       19   Subpoena responses relies on the “sophisticated user and/or knowledgeable intermediary” defenses.
                       20   However, those defenses apply only to strict liability and negligence claims that involve a duty to

                       21   warn, neither of which is alleged here. See, e.g., Judicial Council of Cal. Civil Jury Instructions Nos.

                       22   1244, 1249 (2025) (instructions only for strict liability and duty to warn); Johnson v. Honeywell Int’l

                       23   Inc., 179 Cal. App. 4th 549, 553 (2009) (sophisticated user); Webb v. Special Elec. Co., 63 Cal. 4th

                       24   167, 187 (2016) (intermediary). Accellion now offers several other purported justifications

                       25   (discussed below), each of which fails.

                       26

                       27   2
                              While Accellion is not seeking discovery directly from a third party, it seeks to do the equivalent: obtain a
                            third party’s information indirectly via a party to this action where the third party has already objected and
                       28   responded via non-party subpoenas.
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                        1         Purported Failures to protect Plaintiffs’ Data: Accellion argues the entire Erazo production
                                   is relevant to show “additional failures by UC Regents to protect Plaintiffs’ data that may be a
                        2          superseding cause or the sole direct cause of the alleged harms.” Accellion’s argument fails
                                   because it relies on the sophisticated user and/or knowledgeable intermediary defenses as
                        3          discussed above.

                        4         Inconsistencies in Plaintiffs’ arguments & compensation provided to Plaintiffs: Accellion
                                   argues the entire Erazo production is relevant because (i) the overlapping plaintiffs in Erazo and
                        5          this case may have proffered inconsistent arguments or evidence and (ii) it wants information
                                   regarding “compensation that UC Regents has already provided to mitigate or eliminate
                        6          Plaintiff’s claimed harms.” However, Accellion could seek that information from Plaintiffs in
                                   the present case. Besides, because the Erazo plaintiffs did not produce any documents, the Erazo
                        7          production is not likely to establish any inconsistencies in Plaintiffs’ document production here.

                        8         Reasonableness of Accellion’s actions: Accellion already possesses documents and
                                   information relating to the “reasonableness of Accellion’s own actions in light of UC Regents’
                        9          own conduct,” as reflected in Accellion’s opposition to Plaintiffs’ class certification motion,
                                   including regarding The Regents’ information security policies and the timeline of events
                       10          regarding the breach of the Accellion FTA. See ECF Nos. 300, 320.09, 323.50. Accellion also
                                   already possesses documents The Regents provided in response to the Subpoenas.
                       11
                                  Data flaws: Accellion’s statement regarding “additional flaws in the data available about the
                       12          material allegedly taken in the attacks” is unintelligible and speculative.

                       13             The authorities cited in Accellion’s portion of the Joint Discovery Statement concern entirely

                       14   different circumstances and do not support compelling production here. Avila v. Ford Motor Co.

                       15   involved a request for a defendant’s production of documents the defendant itself had produced in

                       16   other litigation and the Court ordered only the production of “documents responsive to Plaintiff’s

                       17   requests which were also collected and produced in a related class action,” not production en masse

                       18   of every document produced in that other litigation. 680 F. Supp. 3d 1125, 1128 (N.D. Cal. 2023).

                       19   Amini Innovation Corp. v. McFerran Home Furnishings, Inc. focused on avoiding burden on non-

                       20   parties, 300 F.R.D. 406, 409–10 (C.D. Cal. 2014), but the burden on The Regents is not the question

                       21   here. The disclosure of its confidential information subject to a state court protective order is.

                       22   Qualcomm Inc. v. Broadcom Corp. focused on the special situation of a request for production of

                       23   materials from other litigations involving infringements of the same patents at issue, which would

                       24   have been squarely relevant to that case. 2006 WL 8455382, at *8 (S.D. Cal. Aug. 14, 2006). None

                       25   is the equivalent of this situation. Accellion falls far short of demonstrating the relevance of the

                       26   information sought and that the burden imposed is proportional to the needs of this case.

                       27   III.      CONCLUSION

                       28             For the foregoing reasons, The Regents respectfully requests the Court deny the Motion.
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                        1   Dated: April 21, 2025             Respectfully submitted,
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                        1                                   CERTIFICATE OF SERVICE

                        2          I hereby certify that on April 21, 2025, I caused the foregoing Non-Party The Regents of the

                        3   University of California’s Statement Regarding Defendant Accellion, Inc.’s Discovery Dispute to

                        4   be filed electronically with the Clerk of Court and to be served via the Court’s Electronic Filing

                        5   System upon all counsel of record.

                        6

                        7   Dated: April 21, 2025                       /s/ Jacob M. Heath
                                                                        Jacob M. Heath
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